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 1 LAW OFFICES OF CHRIS COSCA
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 2 1007 7th Street, Suite 210
   Sacramento, CA 95814
 3 (916) 440-1010

 4 Attorney for Defendant
   RYAN CHEAL
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 7                             IN THE UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                           2:12-CR-0185-TLN
11                                 Plaintiff,            STIPULATION AND ORDER TO
                                                         CONTINUE JUDGMENT AND
12   v.                                                  SENTENCE
13   RYAN CHEAL,
14                                 Defendant.
15

16                                             STIPULATION
            The parties, by and through their counsel of record, hereby stipulate that the sentencing
17

18 hearing currently scheduled for January 25, 2018, should be continued to June 7, 2018, at 9:30 a.m..

19 A continuance is necessary because, while Mr. Cheal has pled guilty, a related defendant is pending

20 trial and thus Mr. Cheal has not yet completed his cooperation obligations under his plea agreement.

21
     Moreover, any trial testimony by Mr. Cheal may help the Court gauge his remorse and rehabilitation,
22
     and thus assist the Court as it determines the sentence for Mr. Cheal.
23
     IT IS SO STIPULATED.
24

25 DATED:           December 14, 2017             /s/ Jason Hitt___________________
                                                  JASON HITT
26                                                Assistant United States Attorney
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     USA v. Cheal, Stip and Proposed Order to Con’t J&S
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     DATED:       December 14, 2017           /s/ Chris Cosca __________________
 1                                            CHRIS COSCA
                                              Counsel for Defendant RYAN CHEAL
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                                              ORDER
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 8 IT IS SO FOUND AND ORDERED this 14th day of December, 2017.

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12                                                        Troy L. Nunley
                                                          United States District Judge
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     USA v. Cheal, Stip and Proposed Order to Con’t J&S
